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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:05CR3019
                                         )
            Plaintiff,                   )
                                         )
vs.                                      )          ORDER
                                         )
TERESA JONES,                            )
                                         )
            Defendant.                   )

       IT IS ORDERED that the defendant’s motion to seal her motion for departure is
granted.

      January 18, 2006.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
